       Case 1:21-cv-00413-LEK-RT Document 1 Filed 10/13/21 Page 1 of 5                                                       PageID #: 1


Pro Se I (Rev. 12/ 16) Complain1 fora Civil Case                                                                        FIi ED IN THE
                                                                                                             UNITED STATES DISTRICT COURT
                                        UNITED STATES DISTRICT COURT                                              DISTRICT OF HAWAII
                                                                         for the                                        OCT 13 2021
                                                               District of Hawaii                            at /l o'clock and 1 qmin._Q_M
                                                                                                              MICHELLE RYNNE, CLERK
                                                              _____ Division                                                                     (j


                        TELICIA BLYTHE                                      )                                  0041 3 LEK RT
                                                                            )                     (to be.filled in by 1he Clerk's Office)
                                                                            )
                               Plainti.ff{s)                                )
(Write rhefull name ofeach plaintiff who is filing rhis complaint.
lf rhe names of all the plai111if fs cannot /ii in rhe space above,
                                                                            )      Jury Trial: (check one)    IZJ Yes      0 No
please write "see al/ached " in 11,e space and a/loch an additional
                                                                            )
page with 1hef11ll lis1 ofnames.)                                           )
                                  -v-                                       )
                                                                           )
                     WAL-MART INC.
                  (WALMART STORES INC)                                      )
                                                                           )
                                                                           )
                             Defendant{s)
                                                                            )
(Wri1e thefull name ofeach defendant who is being s11ed. If 1he
names ofall the defendants ca111101fit in the space above, please           )
wrire "see al/ached ·• in rhe space and allac/1 an additional page          )
with the full lisr ofnames.)



                                                   COMPLAINT FOR A CIVIL CASE


I.         The Parties to This Complaint
           A.        The Plaintiff(s)

                     Provide the infonnation below for each plaintiff named in the complaint. Attach add itional pages if
                     needed.
                                Name                                  TELICIA BLYTHE
                                Street Address                        662 Hilinai St.

                                City and County                       wailuku, Maui
                                State and Zip Code                    HI, 96793
                                Telephone Number                      808-793-7360
                                E-mail Address                        teliciablythe@yahoo.com


          B.         The Defendant(s)

                     Provide the infonnation below for each defendant named in the complaint, whether the defendant is an
                     indi vidual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title {!(known) . Attach additional pages if needed.


                                                                                                                                            Page I of 5
       Case 1:21-cv-00413-LEK-RT Document 1 Filed 10/13/21 Page 2 of 5                                    PageID #: 2



Pro Se I (Rev. 12/16) Complaint for a Civil Case

                     Defendant No. 1
                                Name                            WALMART INC. {WAL-MART STORES INC)
                                Job or Title (if known)         headquarters
                                Street Address                  702 southwest 8th St.
                                City and County                 Bentonville
                                State and Zip Code              AK, 72716
                                Telephone Number                1-800-925-6278
                                E-mail Address (ifknown)


                     Defendant No. 2
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 3
                                Name
                                Job or Title (if known)
                                                                                         --    ----~---   ~-------
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address     (if known)



                      Defendant No. 4
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                                                                              --   ---··-·--------
                                 E-mail Address (if known)



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       Case 1:21-cv-00413-LEK-RT Document 1 Filed 10/13/21 Page 3 of 5                                                PageID #: 3



Pro Se I (Rev. 12/16) Complaint for a Civil Case

II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties·
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

           What is the basis for federal court jurisdiction?             (check all that apply)

                  ll!Federal question                                  Ill Diversity of citizenship
          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.
                      Title Ill ADA regulations/laws
                      U.S. Code Title 42, Chapter 21-Civil Rights



                                                               ------------~                           -     ------   --------
           8.         If the Basis for Jurisdiction Is Diversity of Citizenship

                      1.        The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                            The plaintiff,    (name) TELICIA BLYTHE                                     , is a citizen of the
                                            State of (name)
                                                                   ------- ------- --
                                                               Hawaii


                                b.         If the plaintiff is a corporation
                                            The plaintiff,    (name)                                                    , is incorporated
                                                                      ------- ------- -
                                            under the laws of the State of (name)
                                            and has its principal place of business in the State of (name)



                                (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                same information for each additional plaintiff.)

                      2.        The Defendant(s)

                                a.          If the defendant is an individual
                                            The defendant, (name)                                                       , is a citizen of
                                                                          ---------------
                                            the State of (name)                                                       0 r is a citizen of
                                                                       -----------~•-----
                                           Uoreign nation)

                                                                                                                                     Page 3 of S
       Case 1:21-cv-00413-LEK-RT Document 1 Filed 10/13/21 Page 4 of 5                                      PageID #: 4


Pro Se 1 (Rev. 12/16) Complaint for a Civil Case




                                b.         If the defendant is a corporation
                                           The defendant,   (name)   WALMART INC.                        , is incorporated under
                                           the laws of the State of (name)   Delaware                             , and has its
                                                                             ____;_.;..;.._~---------- -----.----
                                           principal place of business in the State of (name) Arkansas
                                                                                                -----------  ---
                                           0 r is incorporated under the laws of (foreign nation)   n/a
                                                                                                n/a
                                                                                                   ----------- --
                                           and has its principal place of business in (name)

                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                stake-is more than $75,000, not counting interest and costs of court, because (explain):
                                 1. Discimination due· to race
                                 2. Discrimination due to disability
                                 3. Compensatory damages
                                 4. Punitive damages



III.       Statement of Claim

           Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
           facts showing that each plaintiff is entitle4 to the damages or other relief sought. State how each defendant was
           involved and what each defendant did that caused the plaintiffhann or violated the plaintiffs rights, including
           the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
           write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
          I was not allowed to have my backpack in the store although I use It due to my disabilities. Other people In the store
          were allowed to have backpacks. I pointed it out to them (and the police when they arrived). I informed them that is
          discrimination. They insisted I get rid of my backpack or leave & if I didn't they would call the police. I informed them
          that I had previously been given permission by management to have my backpack and that the people on the door
           were told to let me have it as well because I cannot carry a standard purse/handbag anymore due to health reasons.
          They were informed by a passerby that due to ADA laws they needed to accomodate my request to keep my
           backpack. I shouldn't even need an accomodation because other people were walking around with backpacks and
          -large bag::n>rrireel}r.-1i1ave-video and pictur-es:-They-called the cops 011 me and·had-me-rernoved from tlie property
          and permanently banned me from the only walmart in Maui.
IV.        Relief                           ·     ·

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.

          1. Request that Wal-Mart allow reasonable accomodations because its lawful.
          2. $1. ,200,000 for combined damages due to the traumatic experience of multiple layers of discrimination and
             harassment that has been ongoing for several years.
          3. Lawyer fees


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       Case 1:21-cv-00413-LEK-RT Document 1 Filed 10/13/21 Page 5 of 5                                     PageID #: 5



Pro Se I (Rev. 12/16) Complaint for a Civil Case




V.         Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: ( 1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

           A.         For Parties Without an Attorney

                      I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.

                      Date of signing:             10/13/2021


                      Signature of Plaintiff
                      Printed Name of Plaintiff

           B.         For Attorneys

                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number
                      Name of Law Firm
                      Street Address
                      State and Zip Code
                      Telephone Number
                      E-mail Address




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